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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:02CR353
                                            )
                        Plaintiff,          )
                                            )              MEMORANDUM
       vs.                                  )               AND ORDER
                                            )
ROY C. STRAUGHAN,                           )
                                            )
                        Defendant.          )

       This matter is before the Court on the Defendant’s Notice of Appeal (Filing No. 699).

The Defendant appeals from the Amended Memorandum and Order (Filing No. 695) and

Amended Judgment (Filing No. 696) denying his Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody (“§ 2255 motion").

Federal Rule of Appellate Procedure 24 governs the Defendant’s ability to proceed in forma

pauperis in this appeal.

       However, before the Defendant may appeal the denial of her § 2255 motion, a

“Certificate of Appealability” must issue. Pursuant to the Antiterrorism and Effective Death

Penalty Act of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (“AEDPA”), the right to appeal

the denial of a § 2255 motion is governed by the certificate of appealability requirements

of 28 U.S.C. § 2253(c). 28 U.S.C. § 2253(c)(2) provides that a certificate of appealability

may issue only if the applicant has made a substantial showing of the denial of a

constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
       appeal may not be taken to the court of appeals from–
                                               ....

               (B) the final order in a proceeding under section 2255.

       (2) A certificate of appealability may issue under paragraph (1) only if the
       applicant has made a substantial showing of the denial of a constitutional
       right.
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       (3) The certificate of appealability under paragraph (1) shall indicate which
       specific issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253(c).

       A “substantial showing of the denial of a constitutional right” requires a

demonstration “that reasonable jurists could debate whether (or, for that matter, agree that)

the petition should have been resolved in a different manner or that the issues presented

were ‘”adequate to deserve encouragement to proceed further.”’“ Slack v. McDaniel, 529

U.S. 473, 484 (2000) (citing Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983)).

       The issues raised in the § 2255 motion were considered at length. For the reasons

set forth in the Court’s previously issued Amended Memorandum and Order (Filing No.

695) denying the defendant’s § 2255 motion, the Court concludes that the Defendant has

not made a substantial showing of the denial of a constitutional right as required by 28

U.S.C. § 2253(c).

       IT IS ORDERED:

       1.     A certificate of appealability is denied;

       2.     The Court denies the Defendant leave to proceed in forma pauperis on

              appeal;

       3.     The Clerk of Court shall provide a copy of this Memorandum and Order to the

              Eighth Circuit Court of Appeals; and

       4.     A copy of this Memorandum and Order shall be mailed to the Defendant at

              his last known address.

       DATED this 17th day of March, 2009.

                                           BY THE COURT

                                           s/Laurie Smith Camp
                                           United States District Judge

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